               Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 1 of 31




                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION


              UNITED STATES OF AMERICA,


              v.                                            CRIMINAL ACTION NO.
                                                            1:15-CR-82-TCB-LTW

              GINO SHULER,

                        Defendant.


             MAGISTRATE JUDGE’S FINAL REPORT AND RECOMMENDATION AND
                ORDER CERTIFYING THIS DEFENDANT READY FOR TRIAL1

                   Pending before this Court is Defendant Gino Shuler’s Motion to Suppress (Doc.

             292). This Court convened an evidentiary hearing with respect to Defendant’s Motion

             on June 28, 2017. (Doc. 586). On August 18, 2017, Defendant filed his post-hearing

             brief. (Doc. 592). The Government filed its response to Defendant’s post-hearing brief

             on September 19, 2017. (Doc. 606). Although Defendant had until October 5, 2017, to

             file a reply, on October 5, 2017, Defendant informed the Court that he would not be

             filing a reply. Accordingly this case is ripe for a ruling. For the reasons set forth below,


                    1
                    This Court observes that this Defendant has been indicted with additional
             Defendants and that matters pertaining to Co-Defendant Angela Williams is still
             pending. Pursuant to 18 U.S.C.§ 3161(h)(7) (the Speedy Trial Act) the time for
             commencing this Defendant’s trial may be stayed until such time as the other
             Defendant has been certified ready for trial. Hence, it is not necessary to place the
             above-named Defendant’s case on the calendar for trial at this time.


AO 72A
(Rev.8/82)
                  Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 2 of 31




             Defendant’s Motion to Suppress should be DENIED. (Doc. 292).

                                  DEFENDANT’S MOTION TO SUPPRESS

             I.      FACTUAL BACKGROUND

                     On March 11, 2015, the Grand Jury returned an Indictment charging Defendant

             Gino Shuler (“Defendant”) with one count of conspiracy, five counts of stealing money

             of the United States, and five counts of aggravated identity theft, all of which arise from

             an alleged scheme to cash stolen United States Treasury checks. (Doc. 1, at 1-9).

             Defendant argues in his Motion to Suppress that the evidence collected and seized by

             the police when he was stopped while driving on I-75 in Lamar County, Georgia, should

             be suppressed because the police detained him for questioning unrelated to the reasons

             for the initial stop. Defendant also argues the police officer did not have reasonable

             suspicion of criminal activity which would justify such extended questioning.

                     At this Court’s evidentiary hearing, the Court received testimony from Sergeant

             Brett Newman, who was the officer primarily engaged in the questioning of Defendant

             at the traffic stop, and the Government submitted as evidence a video of the entire stop

             recorded from the dashboard camera of Sergeant Newman’s patrol car. (Transcript of

             June 28, 2017 Evid. Hrg., hereinafter “Tr.,” 8, 18-19; Gov’t’s Ex. A). On April 18,

             2011, Sergeant Newman served as a member of the Lamar County Sheriff’s Office

             traffic interdiction team, which was responsible for not only enforcing traffic laws and

             ensuring the general safety of the motoring public, but also observing whether motorist

             engage in other indicators of criminal activity. (Tr. 6). Sergeant Newman testified that

                                                         2


AO 72A
(Rev.8/82)
               Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 3 of 31




             members of the traffic interdiction team “take [a traffic] stop a little bit further than just

             a [traffic] ticket.” (Tr. 7). In that vein, members of the traffic interdiction team attend

             training and sharing of information in things that are trending in narcotic trafficking.

             (Tr. 7). Members are trained to “pick up heightened levels of nervousness through

             different body language indicators, such as hands shaking.” (Tr. 7).

                    Because Sergeant Newman’s position also involved handling a K-9 unit, Sergeant

             Newman also received a 320-hour training course on working with the K-9. (Tr. 8-9).

             Sergeant Newman’s K-9 unit was trained to detect the odors of various narcotics, such

             as marijuana, methamphetamine, heroin, and cocaine, and the K-9 unit is certified in

             narcotics detection by the National Narcotics Detector Dog Association. (Tr. 9, 11).

             Sergeant Newman and the K-9 unit successfully completed courses in narcotics

             detection, and the dog was certified in narcotics detection by the National Narcotics

             Detector Dog Association in 2010. (Tr. 11-13). Sergeant Newman and the K-9 unit

             successfully obtained recertification every year Sergeant Newman worked at Lamar

             County, and Sergeant Newman and the dog typically trained for at least eight hours a

             month in narcotic detection and tracking. (Id.).

                    A.     Sergeant Newman Pulled Over Defendant on I-75

                    On October 22, 2012, Sergeant Newman, accompanied by his supervisor,

             Lieutenant Chad Payne, and his K-9 unit, Paco, was monitoring traffic on I-75 south

             near mile marker 201 in Lamar County in the daytime, when he pulled over Defendant

             for following another car too closely. (Tr. 4-6, 8, 16-17, 44; see generally Gov’t’s Ex.

                                                           3


AO 72A
(Rev.8/82)
               Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 4 of 31




             A). While Sergeant Newman’s patrol car was positioned perpendicular to the highway,

             he noticed a black vehicle traveling in the center lane and following another vehicle at

             less than a car length’s distance. (Tr. 17). Once there was a break in the traffic,

             Sergeant Newman pulled out, accelerated to catch up to the black vehicle, and activated

             his blue lights. (Tr. 18). The driver of the black vehicle immediately signaled and

             pulled over into the right shoulder of the road. (Tr. 18, 51; Gov’t’s Ex. A, at 00:20).

             Sergeant Newman testified that while he was driving his patrol car behind the black car,

             something burning flew out of the car and hit the windshield of his patrol car. (Tr. 20-

             21; Gov’t’s Ex. 3). The video showed Sergeant Newman commenting, “He just hit my

             windshield with something,” and Lieutenant Payne responding, “Yeah, sure did.” (Tr.

             20; Gov’t’s Ex. 1, at 00:27).

                   Sergeant Newman, who was uniformed and wearing a gun on his side which was

             visible, exited the patrol car approached the black vehicle on the passenger side. (Tr.

             21, 53-54). Sergeant Newman’s partner, Lieutenant Payne, also exited the patrol car and

             was wearing his uniform and armed with a holstered gun. (Tr. 53-54, 69; Gov’t’s Ex.

             1, at 01:21). Sergeant Newman, while at the passenger side window, leaned down and

             asked Defendant, who was driving, for his driver’s license. (Tr. 21-22). The passenger,

             who was the driver’s brother, Maurice Shuler, asked Sergeant Newman whether

             Sergeant Newman wanted his license, and Sergeant Newman clarified that he wanted

             Defendant’s license because he was driving. (Tr. 22, 29; Gov’t’s Ex. A, at 01:09).

             Sergeant Newman testified that he noticed an overwhelming odor of a fruity air

                                                        4


AO 72A
(Rev.8/82)
               Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 5 of 31




             freshener, which Sergeant Newman referred to as a masking agent because it is typically

             used in drug trafficking to conceal the odor of marijuana. (Tr. 22).

                   When the driver of the vehicle, Defendant Gino Shuler, reached across the

             passenger to offer his license, Sergeant Newman waited a moment before taking

             Defendant’s license so that he could observe Defendant’s demeanor. (Tr. 23-24).

             According to Sergeant Newman, law enforcement officers are trained not to immediately

             take the license and to make the driver hold out their hand. (Tr. 23). Sergeant Newman

             noticed that Shuler’s arm was shaking and he appeared extremely nervous. (Tr. 23-24).

             In the mean time, the passenger “was breathing heavily and just pretty much [had] a

             blank stare straight out of the windshield.” (Tr. 24). Sergeant Newman states that after

             the stop, the driver never turned off the turn signal even though it continued its audible

             clicking sound during the duration of the traffic stop, which indicated to Sergeant

             Newman that the driver was extremely nervous. (Tr. 25). Neither Defendant nor his

             brother threatened Sergeant Newman in any way. (Tr. 51).

                   B.     Sergeant Newman Asked Defendant a Number of Questions About the
                          Smell Emanating From the Car, What Defendant Had Thrown Out of
                          the Car, and Where Defendant and His Brother Were Headed

                   Sergeant Newman directed Defendant to exit the vehicle and come around to the

             back side of the black car. (Gov’t’s Ex. A, at 01:15). While Sergeant Newman was

             waiting for Defendant to exit the vehicle, Lieutenant Payne remarked to Sergeant

             Newman that the occupants of the car had sprayed air freshener in the car, and Sergeant

             Newman agreed that something had been sprayed in the car. (Gov’t’s Ex. A, at 01:18).

                                                         5


AO 72A
(Rev.8/82)
               Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 6 of 31




             Once Defendant joined Sergeant Newman at the back of the black car, Sergeant

             Newman advised Defendant that the reason he stopped Defendant was because

             Defendant was following too closely. (Tr. 25; Gov’t’s Ex. A, at 01:38). Sergeant

             Newman also asked Defendant what he threw out the window. (Tr. 26). Defendant

             denied throwing anything out of the window. (Tr. 26; Gov’t’s Ex. A, at 1:30). Sergeant

             Newman responded, “Yes, you did; you hit the windshield of my car.” (Gov’t’s Ex. A,

             at 01:39). Defendant then admitted that he had thrown a cigarette out of the car. (Tr.

             26; Gov’t’s Ex. A, at 01:45).

                   Sergeant Newman next asked Defendant whether he had just sprayed a bunch of

             air freshener in the car, and Defendant denied doing so. (Tr. 26; Gov’t’s Ex. A, at

             01:49). Sergeant Newman insisted, “Why am I smelling it then?” (Tr. 26; Gov’t’s Ex.

             A, at 01:51). Defendant responded, “Smelling what?” (Tr. 26; Gov’t’s Ex. A, at 01:52).

             Sergeant Newman testified that he took Defendant’s response “smelling what” as

             another indicator that Defendant was avoiding his question because it pertained to the

             concealment of an odor that Defendant did not want him to smell. (Tr. 26). Sergeant

             Newman replied, “The air freshener.” (Gov’t’s Ex. A, at 01:50). Defendant then stated,

             “I ain’t sprayed nothin in my car.” (Gov’t’s Ex. A, at 01:56).

                   Approximately one minute into the stop, Sergeant Newman next asked Defendant

             where he was headed. (Tr. 27; Gov’t’s Ex. A, at 02:00). Defendant stated that he was

             going to a friend’s house. (Gov’t’s Ex. A, at 02:03). Sergeant Newman asked where the

             friend’s house was. (Gov’ts Ex. A, at 02:04). Defendant responded, “Macon,” and

                                                       6


AO 72A
(Rev.8/82)
               Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 7 of 31




             made a gesture with his hand pointed in the direction that he was going. (Tr. 27; Gov’t’s

             Ex. A, at 02:05). Sergeant Newman states that in his experience it is another indicator

             of involvement in criminal activity if a suspect points and directs because doing so is an

             indicator that the suspect is attempting to persuade the listener to believe what he is

             saying. (Tr. 27). Sergeant Newman testified that, based on his conferences and his

             experiences stopping the everyday motoring public, individuals involved in criminal

             activity typically direct the police to the next large city they are coming into contact

             with. (Tr. 27). Sergeant Newman explains that in such cases, the suspect does not know

             how to answer the questions, is trying to do the best that he can, but wants the officer

             to believe him. (Tr. 27). Sergeant Newman testified that he believes these behaviors to

             be an indicator of nervousness and evasion of the question. (Tr. 27).

                   Sergeant Newman asked Defendant what was the address where he was headed.

             (Gov’t’s Ex. A, at 02:06). Defendant responded, “1877.” (Gov’t’s Ex. A, at 02:15). At

             the same time, Defendant interlocked either his left hand over his right wrist or his right

             hand over his left wrist behind him. (Tr. 28; Gov’t’s Ex. A, at 02:14). Sergeant

             Newman testified that Defendant’s body language suggested that he was extremely

             nervous about the questions and that he did not know the answer to the questions. (Tr.

             28). Sergeant Newman pressed further, “What street?” (Gov’t’s Ex. A, at 02:17).

             Defendant responded, “Davidson.” (Gov’t’s Ex. A, at 02:19). Sergeant Newman asked

             Defendant where in Macon was Davidson Street located. (Gov’t’s Ex. A, at 02:20).

             Defendant responded, “I don’t know. I’m supposed to be meeting him.” Gov’t’s Ex. A,

                                                         7


AO 72A
(Rev.8/82)
               Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 8 of 31




             at 02:26). Sergeant Newman then asked, “Where you meeting him at?” (Gov’t’s Ex. A,

             at 02:28). Defendant allegedly hedged, “Davidson Street or something.” (Gov’t’s Ex.

             A, at 02:30). Sergeant Newman asked Defendant what was the name of his friend in

             Macon. (Gov’t’s Ex. A, at 02:38). Defendant responded that his friend’s name was

             Rick. (Gov’t’s Ex. A, at 02:39). Sergeant Newman then asked Defendant, “Who is this

             you’ve got in the car with you?” (Gov’t’s Ex. A, at 02:40). Defendant responded, “My

             brother.” (Gov’t’s Ex. A, at 02:42). Sergeant Newman asked Defendant what his

             brother’s name was. (Gov’t’s Ex. A, at 02:43). Defendant responded, “Maurice.”

             (Gov’t’s Ex. A, at 02:45). Sergeant Newman then asked Defendant whether the car he

             was driving was a friend’s car and Defendant responded that it was Maurice’s car.

             (Gov’t’s Ex. A, at 02:46). Sergeant Newman then asked if Maurice was Defendant’s

             brother or his friend. (Gov’t’s Ex. A, at 02:52). Defendant responded that Maurice was

             his brother. (Gov’t’s Ex. A, at 02:53). Sergeant Newman then clarified, “Blood

             brother?” (Gov’t’s Ex. A, at 02:53). Defendant nodded. (Gov’t’s Ex. A, at 02:52).

                   Approximately two minutes into the stop, Sergeant Newman told Defendant to

             remain behind the car and went to the passenger window to talk with Maurice Shuler.

             (Gov’t’s Ex. A, at 03:02). Sergeant Newman then asked Maurice Shuler whether the

             black car was his and asked for his registration. (Gov’t’s Ex. A, at 03:06; Tr. 30).

             Sergeant Newman also asked Maurice Shuler where they were headed, and Maurice

             Shuler responded that they were headed to Macon. (Gov’t’s Ex. A, at 03:17). Sergeant

             Newman asked Maurice Shuler what was going on down there, and Maurice Shuler

                                                       8


AO 72A
(Rev.8/82)
               Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 9 of 31




             responded that they had “some folks down there.” (Gov’t’s Ex. A, at 03:19). Sergeant

             Newman asked Maurice Shuler who they were going to meet in Macon and Maurice

             Shuler responded that he was riding with his brother. (Gov’t’s Ex. A, at 3:28). Sergeant

             Newman responded, “I know you’re riding with him but you don’t know where y’all are

             going?” (Gov’t’s Ex. A, at 03:28). Maurice Shuler repeated, “I’m riding with him.”

             (Gov’t’s Ex. A, at 03:30). Sergeant Newman acknowledged again that Shuler was riding

             with his brother but told Maurice Shuler that he had to know where he was going.

             (Gov’t’s Ex. A, at 3:34). Maurice Shuler responded that he was just riding with him,

             and offered his identification. (Gov’t’s Ex. A, at 03:38). After Sergeant Newman

             responded, “Yeah, if you got it,” Maurice Shuler volunteered that he was scared of the

             police. (Gov’t’s Ex. A, at 03:45). Sergeant Newman asked Maurice Shuler why and

             then asked him whether he knew where he was going in Macon. (Gov’t’s Ex. A, at

             03:58). Sergeant Newman left the passenger side of the vehicle and asked Defendant

             whether he ever had any trouble with his license. Defendant responded no.

                   C.     Sergeant Newman Checked Into Defendant and Maurice Shuler’s
                          License and Criminal Histories and Then Resumed Questioning
                          Defendant While He Wrote a Traffic Warning

                   Approximately three minutes into the stop, Sergeant Newman returned to his

             patrol car and called the Blue Light Operations Center (“BLOC”), which was a call

             center used to check for warrants, license statuses, and criminal history. (Tr. 31). The

             call took about four and a half minutes. (Tr. 32-33; Gov’t’s Ex. A, at 04:11-08:41).

             Representatives at BLOC advised Sergeant Newman that both Defendant and Maurice

                                                        9


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 10 of 31




             Shuler had a valid license, they did not have outstanding warrants, and Maurice Shuler

             had no criminal history. (Tr. 32). BLOC reported that Defendant had prior arrests for

             giving false information. (Tr. 32). At that time, Sergeant Newman decided that he

             would exit the patrol car and write Defendant a warning and that while he did so, he

             would ask Defendant some clarifying questions to see if he could make Defendant’s

             story about where Defendant was going legitimate. (Tr. 32).

                   Approximately seven minutes and forty-five seconds into the stop, Sergeant

             Newman left the patrol car and advised Defendant that everything was okay with his

             license and that Sergeant Newman would issue him a warning. (Tr. 34-35; Gov’t’s Ex.

             A, at 08:44). Sergeant Newman testified that usually when he advises a motorist that

             he is only going to issue a warning, the motorist’s nervousness decreases, but Defendant

             continued to appear nervous. (Tr. 35). While Sergeant Newman was writing out the

             warning, Sergeant Newman asked Defendant why Maurice Shuler was not driving his

             own car, and Defendant responded that his brother did not want to drive. (Gov’t’s Ex.

             A, at 08:54). Sergeant Newman exclaimed, “He don’t even know where y’all going.

             Any reason he don’t know?” (Gov’t’s Ex. A, at 08:54). Defendant did not answer the

             question asked, but responded that they were going to pick up a friend. (Gov’t’s Ex. A,

             at 09:05). Sergeant Newman then asked, “You’re going to pick him up? Now, a while

             ago, you told me that you was going to meet him.” (Gov’t’s Ex. A, at 09:04). Defendant

             insisted that they were going to pick the friend up, and the friend had just had an

             argument with his girlfriend. (Gov’t’s Ex. A, at 09:07). Sergeant Newman again asked

                                                       10


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 11 of 31




             Defendant whether he knew Rick’s last name, but Defendant replied, “We just call him

             Rick.” (Tr. 34; Gov’t’s Ex. A, at 09:25). Sergeant Newman again pressed, “You don’t

             know his last name, . . . huh?” (Gov’t’s Ex. A, at 9:28). Defendant responded, “Huh?”

             (Gov’t’s Ex. A, at 09:30). Sergeant Newman asked Defendant how long he had known

             Rick, and Defendant divulged that he had known Rick for “almost going on like a year.”

             (Tr. 34; (Gov’t’s Ex. A, at 09:40). Sergeant Newman testified that only being on a first

             name basis is consistent with drug trafficking practices because individuals involved in

             drug trafficking “deal with nicknames” and “claim not to know anybody’s full name for

             purposes of . . . concealing their identity to whoever.” (Tr. 34).

                   Sergeant Newman believed that Defendant continued to evade his questions,

             which Sergeant Newman considered to be a sign of heightened levels of nervousness.

             (Tr. 35-36). Sergeant Newman testified that Defendant told him that he met Rick at a

             club, but when asked what club, Defendant only indicated “a club in Atlanta.” (Tr. 36;

             Gov’t’s Ex. A, at 09:40, 10:10). Sergeant Newman told Defendant, “Ain’t nothing you

             telling me making no sense. Do you agree or disagree?” (Tr. 36). Defendant chuckled,

             but did not answer. (Tr. 36; Gov’t’s Ex. A, at 10:30). Sergeant Newman challenged that

             Defendant was driving all the way from Atlanta to Macon to pick up a guy whose last

             name he did not know. (Gov’t’s Ex. A, at 10:40). Defendant responded, “He’s cool

             though.” (Id.). Sergeant Newman told Defendant that he gave him the name of a street

             that he had never heard of despite having done police work in Macon for eighteen years.

             (Gov’t’s Ex. A, at 10:50). Sergeant Newman accused Defendant of making stuff up as

                                                        11


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 12 of 31




             he went along, and asked if Defendant agreed that it sounded like he was making stuff

             up as he went along. (Gov’t’s Ex. A, at 11:00). Defendant responded, “Nah.” (Gov’t’s

             Ex. A, at 11:15). Sergeant Newman also pressed that it did not make any sense that

             Defendant’s brother was in the car going somewhere with him, but claimed not to know

             where he was going.      (Gov’t’s Ex. A, at 11:20). Defendant did not offer any

             explanation. (Gov’t’s Ex. A, at 11:30). Sergeant Newman also asked Defendant why

             his brother told him that he was scared of the police and whether his brother had been

             previously beaten up by policemen. (Gov’t’s Ex. A, at 12:00). Defendant responded,

             “Nah.” (Gov’t’s Ex. A, at 12:20). Sergeant Newman then asked Defendant whether he

             was transporting drugs or large amounts of United States currency in his vehicle, and

             Defendant responded that he was not. (Gov’t’s Ex. A, at 12:38). By this point, Sergeant

             Newman had completed his investigation of the traffic infraction and had finished

             writing the warning ticket. (Tr. 65-67).

                   D.    Sergeant Newman Utilized a K-9 Unit to Search the Vehicle’s Exterior
                         and Then Searched the Interior of the Vehicle After the K-9 Alerted

                   Almost eleven minutes and forty-nine seconds into the stop, Sergeant Newman

             asked Defendant if he could search the vehicle. (Tr. 37; Gov’t’s Ex. A, at 12:45).

             Defendant scratched his head and responded, “Ain’t nothin in there.” (Tr. 37; Gov’t’s

             Ex. A, at 12:50). Sergeant Newman replied, “That ain’t what I asked you. I asked you

             could I search it. It’s a yes or no.” (Tr. 37; Gov’t’s Ex. A, at 12:50). Defendant

             responded, “I ain’t got nothing in there.” (Tr. 37). At the time Sergeant Newman asked

             for consent to search the vehicle, Sergeant Newman held the completed warning ticket
                                                        12


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 13 of 31




             in his hands, but did not give it to Defendant. (Tr. 66). Sergeant Newman testified that

             these types of cases, he “run[s] the dog instead of trying to stand there” so it would not

             appear as if he was trying to coerce Defendant into giving consent.             (Tr. 37).

             Approximately twelve minutes into the stop, Sergeant Newman informed Defendant that

             he was going to have his K-9 unit walk around the car. (Gov’t’s Ex. A, at 12:00). As

             of twelve minutes into the stop, Sergeant Newman still had not given Defendant the

             written warning. (Tr. 38).

                   A little over thirteen minutes into the stop, Sergeant Newman walked Paco, the

             K-9 unit around the vehicle. (Tr. 39; Gov’t’s Ex. A, at 14:10). When Paco came around

             the rear of the vehicle, his body posture became rigid, he turned his head towards the

             trunk seam with the bumper, his breathing became rapid, and he jumped on the bumper

             and attempted to start scratching it. (Tr. 39; Gov’t’s Ex. A, at 14:25). According to

             Sergeant Newman, Paco’s behavior was an alert that he had picked up the odor of a

             narcotic inside the vehicle. (Tr. 39-40). Sergeant Newman continued to walk the dog

             towards the front of the vehicle and turned him around and walked towards the back of

             the car from the opposite direction. (Tr. 40). When Paco arrived at approximately the

             same spot on the backside of the vehicle, Paco’s body posture again became rigid, his

             breathing became rapid, and he began scratching the trunk in the same place. (Tr. 40;

             Gov’t’s Ex. A, at 14:38). Paco’s search lasted less than forty seconds long. (Gov’t’s Ex.

             A, at 14:10-14:42). Once Paco gave a positive alert, Sergeant Newman placed Paco

             back in the patrol car. (Tr. 41).

                                                        13


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 14 of 31




                   Sergeant Newman next asked Defendant if he knew whether anyone had smoked

             marijuana in the car recently. (Gov’t’s Ex. A, at 15:00). Sergeant Newman explained

             that the dog alerted twice in the same area and asked Defendant if he knew why the dog

             might be doing that or whether he transported anything in the car recently. (Gov’t’s Ex.

             A, at 15:15).    After Defendant denied knowledge, Sergeant Newman informed

             Defendant of his intent to search the vehicle. (Tr. 41; Gov’t’s Ex. A, at 15:20). Sergeant

             Newman then directed Maurice Shuler to exit the car, asked him whether he had any

             knowledge of whether anyone had smoked marijuana in the vehicle, and told him that

             the dog alerted to the trunk. (Gov’t’s Ex. A, at 15:50). Maurice Shuler denied that

             anyone had smoked marijuana in the car. (Id.).

                   The officers began the search approximately fifteen minutes into the stop.

             (Gov’t’s Ex. A, at 16:05). During the search, the officers found nine United States

             Treasury checks that appeared to be fabricated between the passenger seat and the center

             console. (Tr. 42). The officers also found nine fake Pennsylvania driver’s licenses in

             the passenger seat door pocket, five of which had Defendant’s picture and four of which

             had Maurice Shuler’s picture. (Tr. 42). Sergeant Newman testified that during the

             search, the officers also found a green leafy substance which looked like marijuana

             residue in the carpeted floorboard on the passenger side. (Tr. 41, 54-55). Sergeant

             Newman did not collect, weigh, or test the residue and did not smell it. (Tr. 54-56).

             Although Sergeant Newman did not charge Defendant or Maurice Shuler with anything

             concerning the marijuana, he did make a notation in the K-9 report that he had found

                                                        14


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 15 of 31




             marijuana residue in the carpet on the floor. (Tr. 42; Gov’t’s Ex. 2). No drugs were

             found in the back of the car. (Tr. 54). Additionally, the officers did not find any other

             indication that drugs had been used in the car, such as rolling papers, lighters, or roach

             clips. (Tr. 56). There were no spray bottles found in the vehicle. (Tr. 49, 73). There

             was also no indication that Defendant or his brother was impaired in any way. (Tr. 56).

             Approximately seventeen and a half minutes into the stop, the officers handcuffed the

             Defendants. (Gov’t’s Ex. A, at 18:20).

             II.   LEGAL ANALYSIS

                   Defendant argues evidence seized during the search of the vehicle should be

             suppressed because he was detained and questioned on topics far beyond the traffic

             control purpose of the stop for longer than what was necessary to write him a ticket for

             the traffic violation. In response, the Government argues the stop was reasonable both

             in duration and scope, Sergeant Newman did not impermissibly extend the duration of

             the stop, and he had reasonable suspicion to extend the search long enough to conduct

             the dog sniff.

                   Even without probable cause, the police may stop individuals and detain them

             briefly in order to investigate a reasonable suspicion that such persons are involved in

             criminal activity. United States v. Tapia, 912 F.2d 1367, 1370 (11th Cir. 1990) (citing

             Terry v. Ohio, 392 U.S. 1 (1968)). Typically, an officer’s investigation of a traffic stop

             must be reasonably related in scope to the circumstances which justified the interference

             in the first place. United States v. Holt, 777 F.3d 1234, 1256 (11th Cir. 2015); United

                                                        15


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 16 of 31




             States v. Boyce, 351 F.3d 1102, 1106 (11th Cir. 2003); United States v. Purcell, 236

             F.3d 1274, 1277 (11th Cir. 2001). Additionally, the traffic stop must be of limited

             duration; it “may not last any longer than necessary to process the traffic violation unless

             there is articulable suspicion of other illegal activity.”2 Boyce, 351 F.3d at 1106; see

             also Holt, 777 F.3d at 1256; Purcell, 236 F.3d at 1277.

                   The Government argues Sergeant Newman did not impermissibly extend the

             duration of the stop because the entire encounter up to the point in which the K-9 unit

             completed his search was approximately fourteen minutes and thirty-five seconds, and

             only three minutes of that time were spent on inquiries that were arguably unrelated to

             the traffic violation. In support, the Government argues Sergeant Newman spent ninety

             seconds discussing what Defendant threw out the window, the air freshener, and where

             Defendant was traveling; sixty seconds talking to Maurice Shuler about similar topics

             while Maurice located the registration; some time performing license checks; and some

             time talking with Defendant while he completed the written warning.

                   Sergeant Newman spent the initial moments of the stop retrieving Defendant’s

             license and explaining why he pulled him over. Each of these activities is within the


                    2
                      For purposes of the instant motion, this Court has applied the law as it existed
             in 2012 because that is when the search occurred. Law enforcement who conduct a
             search in compliance with binding circuit law at the time have not engaged in culpable
             conduct if the search later turns out to be unconstitutional because of a change in
             existing law. Thus, under such circumstances, the officer has behaved reasonably, the
             exclusionary rule would not yield meaningful deterrence, and evidence obtained as a
             result of such a search is not excluded. See Davis v. United States, 564 U.S. 229, 239-
             41 (2011).
                                                         16


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 17 of 31




             legitimate scope of a traffic stop. When an officer issues a warning citation during a

             traffic stop, the stop is not unreasonably prolonged if the officer takes time to explain

             the citation to the motorist. United States v. Wilson, 662 F. App’x 693, 696 (11th Cir.

             2016). Likewise, investigating the driver’s license and the vehicle registration are

             within the legitimate scope of a traffic stop and do not unreasonably prolong the stop.

             Boyce, 351 F.3d at 1106 & n.3 (quoting Purcell, 236 F.3d at 1278-80).

                   Although Sergeant Newman next asked Defendant a series of questions as to what

             he threw out from his window and whether he sprayed air freshener, this extension of

             the stop was permissible because Sergeant Newman had reasonable suspicion that drug

             activity was occurring within the car. In the initial moments of the stop, Sergeant

             Newman explained to Defendant that he stopped him for two reasons. The first was that

             Defendant was following too closely. Before explicitly stating the second reason,

             Sergeant Newman started questioning Defendant about what he had thrown out of the

             window of his car. At this juncture, Sergeant Newman reasonably suspected that

             Defendant had thrown something out of the window of the car3 and might be covering

             up his possession of illegal drugs in the car. While Sergeant Newman extensively

             questioned Defendant regarding topics other than his alleged traffic infraction of

             following too closely, such as questions about where Defendant was going and who he

             was going to see, questioning outside the scope of the purpose of the stop does not


                    3
                      Notably, O.C.G.A. § 40-6-248.1 provides that any person littering a highway
             shall be guilty of a misdemeanor. See also O.C.G.A. § 16-7-42.
                                                        17


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 18 of 31




             necessarily render the questioning unlawful. Where the initial stop is legal, the officer

             has “‘the duty to investigate suspicious circumstances that then [come] to his attention.’”

             United States v. Harris, 928 F.2d 1113, 1117 (11th Cir. 1991) (quoting United States v.

             Hardy, 855 F.2d 753, 757 (11th Cir. 1988)). Thus, an officer may prolong a traffic stop

             if he has articulable reasonable suspicion of other illegal activity. Boyce, 351 F.3d at

             1106; Tapia, 912 F.2d at 1370. Reasonable suspicion must be more than inchoate hunch

             and instead requires that police articulate some minimal, objective justification for an

             investigatory stop. Boyce, 351 F.3d at 1107; Tapia, 912 F.2d at 1370. The police

             officer must “be able to point to specific and articulable facts which, taken together with

             rational inferences from those facts, reasonably warrant” further intrusion under the

             totality of the circumstances. United States v. Bautista-Silva, 567 F.3d 1266, 1272 (11th

             Cir. 2009); Tapia, 912 F.2d at 1370. Officers are expected to use their experience and

             specialized training to draw inferences from the cumulative information available to

             them, including inferences that may evade untrained observers. United States v.

             Bautista-Villanueva, 524 F. App’x 476, 478 (11th Cir. 2013) (“This process allows

             officers to draw on their own experience and specialized training to make inferences

             from and deductions about the cumulative information available to them that might well

             elude an untrained person.”). A variety of factors may contribute to the formation of an

             objectively reasonable suspicion of illegal activity, such as inconsistent statements about

             destination as well as shaking and extreme nervousness. Holt, 777 F.3d at 1256.

             Additionally, a reviewing court “may not consider each fact only in isolation and

                                                         18


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 19 of 31




             reasonable suspicion may exist even if each fact ‘alone is susceptible of innocent

             explanation’” and even if the suspicion ultimately turns out to be incorrect. Bautista-

             Silva, 567 F.3d at 1272; Bautista-Villanueva, 524 F. App’x at 478.

                   In this case, Sergeant Newman asserts reasonable, articulable suspicion that

             Defendant was not only following too closely, but also that he was engaging in other

             illegal activity as well. Sergeant Newman states that before Defendant pulled the car

             over, the occupants of the vehicle had thrown something burning, which appeared to be

             something to smoke out of his window, and it hit the windshield of Sergeant Newman’s

             patrol car. (Tr. 20-21; Gov’t’s Ex. 1, at 00:27). Consistent with Sergeant Newman’s

             account, the dash camera video depicted Sergeant Newman and Lieutenant Payne

             discussing that the occupants of the black vehicle hit the patrol car’s windshield with

             something. (Gov’t’s Ex. 1, at 00:27).

                   Additionally, upon initially approaching the vehicle and asking for Defendant’s

             driver’s license, Sergeant Newman noticed “an overwhelming odor of a masking agent,”

             which Sergeant Newman states was a “fruity air freshener.” (Tr. 22). Consistent with

             Sergeant Newman’s account, the video recording of the incident reflects that Sergeant

             Newman and Payne discussed that the car smelled as if someone in the car had sprayed

             air freshener. (Gov’t’s Ex. A, at 01:18). According to Sergeant Newman, in drug

             trafficking, a masking agent is typically used to conceal the odor, usually of marijuana.

             (Tr. 22).

                   The Defendant and his brother also exhibited nervous behavior. Sergeant

                                                        19


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 20 of 31




             Newman observed that when he arrived at the passenger window, Maurice Shuler

             looked straight ahead and was breathing heavily. (Tr. 24). Moreover, Sergeant

             Newman noticed that Defendant’s hand was shaking as he handed Sergeant Newman his

             driver’s license and that Defendant had never turned off the turn signal, which was still

             making an audible clicking noise. (Tr. 24-25). Sergeant Newman concluded that based

             on his training, these were indicators that Defendant was overly nervous. (Tr. 24-25).

             Given the fact that Defendant and his brother both allegedly appeared nervous, and that

             one of them had thrown something that was burning out of the vehicle after the officers

             had activated their blue lights behind them and had sprayed an air freshener, Sergeant

             Newman could have logically inferred that the occupants of the vehicle had thrown

             something out of the car that they did not want the officers to smell or discover and that

             it might have been drugs. Each of these factors together constitute an articulable basis

             for Sergeant Newman to believe that Defendants were engaged in illegal activity and to

             briefly investigate. See, e.g., Holt, 777 F.3d at 1256-57 (explaining that shaking, failure

             to make eye contact, and heavy breathing can be factors contributing to a finding of

             reasonable suspicion); United States v. Castelan-Benitez, 376 F. App’x 934, 936 (11th

             Cir. 2010) (explaining that passenger and driver’s extreme nervousness, suspicious

             travel explanations, plus the strong smell of air freshener inside the vehicle and the rear

             cargo area, considered to be an unusual location for an air freshener, formed articulable

             basis for reasonable suspicion where officer had been trained that these were cues to

             look for); United States v. Gonzales, 342 F. App’x 446, 449 (11th Cir. 2009)

                                                         20


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 21 of 31




             (concluding that district court did not clearly err in finding that overwhelming odor of

             nine new air fresheners in the cabin of tractor trailer coupled with nervousness of

             occupants, among other things, amounted to reasonable suspicion); see also United

             States v. Lopez, 553 F. App’x 10, 12 (2d Cir. 2014) (explaining that officer had

             reasonable suspicion that criminal activity was afoot where he noticed two cellular

             phones and air freshener in defendant’s car, noticed that defendant was shaking and

             breathing irregularly, and defendant had difficulty answering questions about his travel

             plans); United States v. West, 219 F.3d 1171, 1178-79 (10th Cir. 2000) (explaining that

             the smell of air freshener within a vehicle is a factor to be considered when evaluating

             whether there has been an attempt to conceal illegal activity occurring in a vehicle).

             Here, while individually each of these facts can be explained by innocent behavior and

             would not be enough to satisfy the reasonable suspicion standard, collectively under

             Eleventh Circuit law, they justify Sergeant Newman’s investigation. United States v.

             Mincey, No. 16-11813, 2017 WL 3587465, at *1 (11th Cir. Aug. 21, 2017) (explaining

             that reasonable suspicion may exist even if each fact alone is susceptible of innocent

             explanation) (citing United States v. Bautista-Silva, 567 F.3d 1266, 1272 (11th Cir.

             2009) (explaining that it was error to review factors leading to officer’s reasonable

             suspicion in isolation and conclude that each was susceptible of innocent explanation));

             United States v. Mendoza, 658 F. App’x 479, 482 (11th Cir. 2016) (explaining that

             reasonable suspicion need not rule out the possibility of innocent conduct) (citing United

             States v. Arvizu, 534 U.S. 266, 273, 277-78 (2002)).

                                                        21


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 22 of 31




                   Once Sergeant Newman began asking Defendant questions, he appears to have

             been met at times with evasiveness, minimal responsiveness, or inconsistent responses,

             spurring further suspicion justifying extension of the stop for further questioning. For

             instance, Sergeant Newman asked Defendant what he had thrown out the window, but

             Defendant denied throwing anything out the window. (Tr. 26; Gov’t’s Ex. A, at 1:30).

             Only when Sergeant Newman pressed Defendant about it, did Defendant admit that he

             had thrown anything out the window, alleging that he had thrown a cigarette out the

             window. (Tr. 26; Gov’t’s Ex. A, at 1:45). Sergeant Newman further observed that

             although Defendant denied spraying air freshener, Defendant avoided answering

             Sergeant Newman’s follow up question as to why he was smelling it, by deflecting,

             “smelling what.” (Tr. 26; Gov’t’s Ex. A, at 01:52). Sergeant Newman inferred based

             on his training, that Defendant avoided his question because it was pertaining to

             Defendant’s attempt to conceal an odor Defendant did not want Sergeant Newman to

             smell. (Tr. 26).

                   When Sergeant Newman asked Defendant where he was going, Defendant

             responded that he was going to a friend’s house in Macon. (Gov’t’s Ex. A, at 02:03).

             When Sergeant Newman twice pressed for details about the location of Defendant’s

             friend’s house in Macon, Defendant first avoided giving Sergeant Newman the name of

             the street and replied only with a street number. (Tr. 28; Gov’t’s Ex. 1, at 2:18).

             Defendant ultimately provided a full address when Sergeant Newman pressed for it, but

             suggested that he could not tell Sergeant Newman where the address was because he was

                                                       22


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 23 of 31




             going to meet the friend. (Gov’t’s Ex. A, at 2:20). Defendant then hedged when

             Sergeant Newman asked him where he was meeting his friend, and Defendant said,

             “Davidson Street or something.” (Gov’t’s Ex. A, at 3:30).

                   When Sergeant Newman asked Maurice Shuler where they were headed, Maurice

             Shuler responded somewhat evasively that they were headed to Macon and that they had

             some “folks down there.” (Gov’t’s Ex. A, at 3:17). When Sergeant Newman asked who

             they were going to meet, Maurice Shuler responded only that he was riding with his

             brother. (Gov’t’s Ex. A, at 3:28). Sergeant Newman testified that based on his

             experience and training, it is a common practice in drug trafficking not to give away any

             details about where one is going because it causes variations in the stories given to the

             police. (Tr. 36-37). Because Sergeant Newman’s questions did not lead to consistent,

             informative, or clear answers, it was reasonable for Sergeant Newman to infer that

             Defendant and his brother were being evasive. Nervous behavior, failure to maintain

             eye contact, shaking, evasiveness in answering questions, and inconsistent statements

             about travel destination can be the basis for reasonable suspicion of criminal activity.

             See, e.g., Holt, 777 F.3d at1256-57 (holding that the defendant and his passenger’s

             failure to make eye contact, defendant’s shaking hands, his short and vague answers to

             questions, his whispering something to his passenger before exiting the vehicle, and his

             providing inconsistent statements about recent travel provided a basis for officer’s

             reasonable, articulable suspicion of other illegal activity justifying the prolongation of

             the stop); United States v. Boyce, 351 F.3d 1102, 1109 (11th Cir. 2003) (explaining that

                                                        23


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 24 of 31




             “conflicting answers about where one is traveling to or from may give rise to a suspicion

             of drug activity because most drivers know the answers to these questions and because

             the driver may be trying to hide the fact that he is going to or coming from a known

             drug-source state”); United States v. Pruitt, 174 F.3d 1215, 1220 (11th Cir. 1999)

             (noting inconsistent statements about destination among the factors which have justified

             further questioning and an objectively reasonable suspicion of illegal activity).

                   Likewise, Sergeant Newman’s subsequent computer check of Defendant and

             Maurice Shuler’s license and their criminal histories for approximately four and a half

             minutes did not exceed to scope of the stop or unreasonably extend its duration. An

             officer conducting a routine traffic stop may prolong a traffic stop to investigate the

             driver’s license and vehicle registration, including requesting a computer check, as long

             as such activities do not prolong the traffic stop beyond a reasonable amount of time

             under the circumstances of the stop. See Holt, 777 F.3d at 1256; United States v.

             Purcell, 236 F.3d 1274, 1278 (11th Cir. 2001); United States v. Pruitt, 174 F.3d 1215,

             1219 (11th Cir. 1999). Here, the computer check took less than five minutes and the

             total stop itself up to the point in which the drug dog alerted was less than fifteen

             minutes. (Gov’t’s Ex. A, at 16:05); Purcell, 236 F.3d at 1279 (criminal history search

             which extended the stop by three minutes was de minimis in the context of the totality

             of the circumstances of the traffic stop).

                   Sergeant Newman’s investigative activities following the criminal history check

             were also justified by reasonable suspicion under the circumstances. As noted above,

                                                          24


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 25 of 31




             up to the point of the license and criminal history check, Sergeant Newman had an

             articulable basis for the formation of reasonable suspicion because the occupants of the

             car had thrown something burning which appeared to be something to smoke out of their

             car and hit the windshield of his car with it, the smell of air freshener emitting from the

             car was overwhelming, the occupants of the vehicle appeared nervous, and their answers

             to questions about their destination and other topics were evasive and at times,

             inconsistent. (Tr. 22). Thus, Sergeant Newman’s continuation of questioning after the

             license and computer check was justified by his reasonable suspicion. The extended

             questioning following the license check, however, did nothing to alleviate Sergeant

             Newman’s concerns.        Instead, Defendant’s answers continued to be somewhat

             inconsistent, but according to Sergeant Newman, consistent with the behaviors of drug

             traffickers. When Sergeant Newman asked why Maurice Shuler did not know where

             they were going, Defendant responded without answering the question and instead

             answered that they were going to pick up a friend who had an argument with his

             girlfriend. Previously, Defendant had answered when pressed on the details about where

             the friend lived that they were meeting the friend, and before that Defendant had

             answered that they were going to the friend’s house. (Gov’t’s Ex. A, at 2:03, 2:26,

             8:54). Defendant did not know the last name of the friend, even though he had known

             the friend for a year, which, in Sergeant Newman’s experience, was consistent with drug

             trafficking practices because drug traffickers deal with nicknames for the purpose of

             concealing their identities. (Tr. 34). Defendant also still did not explain, when pressed,

                                                         25


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 26 of 31




             why Maurice Shuler did not know where they were going, which did not alleviate

             Sergeant Newman’s concern that a common practice in drug trafficking is to avoid

             giving away details about where one is going because it might cause variations between

             the stories fellow travelers give to the police. (Gov’t’s Ex. A, at 11:20; Tr. 36).

             Accordingly, Sergeant Newman had reasonable suspicion to utilize the drug dog to sniff

             the car.

                   Furthermore, for the nearly four minutes Sergeant Newman questioned Defendant

             following the computer search but before utilizing the drug dog, Sergeant Newman was

             completing the warning citation form. Law enforcement’s unrelated questions which

             do not take very long to ask or answer during the course of completing the warning

             citation form do not extend the duration of the seizure. United States v. Burrows, 564

             F. App’x 486, 490-91 (11th Cir. 2014) (holding that where officer asked questions

             unrelated to the purpose of the stop only while writing warning citation for

             approximately twelve minutes, the officer’s questioning did not extend the duration of

             the stop); United States v. Gonzalez, 275 F. App’x 930, 933 (11th Cir. 2008) (where

             trooper detained defendant to ask routine questions related to the nature of the traffic

             stop for approximately eight to ten minutes while completing traffic warning, the period

             of detention was reasonable); Purcell, 236 F.3d at 1277-79 (concluding that 14-minute

             period between the initial traffic stop and the driver’s consent to the search of his car

             was not unreasonable, where the officer was waiting for the results from a computer

             background check and had not given the citation to the driver when the driver consented

                                                        26


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 27 of 31




             to the search of his vehicle). For just over four minutes, Sergeant Newman asked

             Defendant a number of questions while Sergeant Newman completed the warning

             citation form, and there is no indication that his doing so impermissibly extended the

             duration of the stop. Hernandez, 418 F.3d at 1212 n.7 (pointing out that the “police are

             not constitutionally required to move at top speed or as fast as possible” and that during

             the traffic stop, “the police can occasionally pause for a moment to take a breath, to

             think about what they have seen and heard, and to as a question or so”). Defendant did

             not lay any factual foundation here for the notion that Sergeant Newman drew out

             preparing the warning ticket so that he could ask more questions or that it took Sergeant

             Newman longer than normal to complete the warning form due to his questions.

                   Nor can this Court conclude that Sergeant Newman’s use of the drug dog to sniff

             the exterior of the car offended the Fourth Amendment. Because Sergeant Newman had

             reasonable suspicion that criminal activity was occurring, he was justified in taking the

             additional time to walk the drug dog around the car. Illinois v. Caballes, 543 U.S. 405,

             409 (2005) (use of a well-trained narcotics detection dog while a motorist is lawfully

             seized for a traffic violation does not rise to the level of a constitutionally cognizable

             infringement because use of the dog generally does not implicate privacy interests);

             United States v. Davis, 343 F. App’x 589, 591 (11th Cir. 2009) (concluding that

             roadside detention for an additional ten minutes while waiting for canine unit to arrive

             was not unconstitutional because it was justified by reasonable suspicion that the

             defendant was involved in criminal activity); United States v. Hernandez, 418 F.3d

                                                        27


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 28 of 31




             1206, 1211 (11th Cir. 2005) (explaining that where each answer to the trooper’s

             investigative questions failed to allay his concerns, the trooper’s reasonable suspicion

             was bolstered, and thus, his decision to continue to detain defendant and to call for the

             drug dog was justified); United States v. Smith, No. 1:16-CR-006-11-ELR-AJB, 2016

             WL 7856415, at *8 (N.D. Ga. Dec. 28, 2016) (explaining that “use of drug-detecting dog

             to sniff for narcotics is a legitimate investigative technique following a traffic stop

             supported by reasonable suspicion that the vehicle’s occupants were involved in drug

             trafficking”).

                   Additionally, Defendant does not dispute that the drug dog’s alert to the trunk of

             the car provided probable cause for the officers’ search of the interior of the car pursuant

             to the automobile exception of the warrant requirement. United States v. Steed, 548

             F.3d 961, 975 (11th Cir. 2008) (holding that once canine gave a positive alert to trailer,

             officer had probable cause to search trailer pursuant to the automobile exception to the

             warrant requirement). Probable cause for a search arises when a well-trained drug-dog

             alerts to drugs. Florida v. Harris, 568 U.S. 237, 245-47 (2013) (explaining that evidence

             of a dog’s satisfactory performance in a certification or participation in a training

             program can itself provide sufficient reason to trust his alert); Burrows, 564 F. App’x

             at 491-92; United States v. Tamari, 454 F.3d 1259, 1265 (11th Cir. 2006). Here,

             Defendant does not dispute that the Sergeant Newman and the K-9 unit were both well-

             trained and successfully completed courses in narcotics detection, Sergeant Newman and

             the K-9 unit successfully obtained recertification in narcotics detection by the National

                                                         28


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 29 of 31




             Narcotics Detector Dog Association every year Sergeant Newman worked at Lamar

             County, and Sergeant Newman and the dog typically trained for at least eight hours a

             month in narcotic detection and tracking. (Tr. 11-13). Thus, the K-9 unit’s alert in this

             case was sufficient to provide probable cause for the search of the automobile.

                    Based on the totality of the circumstances, under Eleventh Circuit law, this Court

             cannot conclude that Sergeant Newman’s investigation of criminal behavior outside the

             scope of the traffic violation unreasonably prolonged the duration of the stop. From the

             inception of the stop until the point in which the drug dog’s alert provided probable

             cause to justify the search of the interior of the car, the investigation had lasted less than

             fifteen minutes.4 (Gov’t’s Ex. A, at 16:05 (showing that search of interior began nearly

             fifteen minutes into the stop)); Burrows, 564 F. App’x at 490-91 (holding that duration

             of traffic stop was not measurably extended where traffic stop up to the point where drug

             dog alerted only lasted twelve minutes and officer asked questions unrelated to the

             purpose of the stop only while writing warning citation); United States v. Gonzalez, 275

             F. App’x 930, 933 (11th Cir. 2008) (where trooper detained defendant to ask routine

                    4
                       In seeking to suppress physical evidence obtained during the search of his
             vehicle, Defendant relies on United States v. Pruitt, 174 F.3d 1215 (11th Cir. 1999).
             Pruitt, however, is factually and legally distinguishable. In Pruitt, the officer did not
             have reasonable suspicion of illegal activity when he questioned the occupants of a
             van, only evidence of speeding. Pruitt, 174 F.3d at 1218, 1220-21. There, the officer,
             after being denied consent to search the van, detained the occupants of the van for
             nearly one-half hour while waiting for the arrival of a drug dog who sniffed the van
             and alerted to the presence of drugs. Pruitt, 174 F.3d at 1218. In contrast, in this case,
             Sergeant Newman, in addition to observing Defendant following too closely, had
             reasonable suspicion of illegal activity and the stop lasted less than fifteen minutes
             before the drug dog alerted.
                                                          29


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 30 of 31




             questions related to the nature of the traffic stop for approximately eight to ten minutes

             while completing traffic warning, the period of detention was reasonable); Hernandez,

             418 F.3d at 1212 n.7 (expressing doubt that where the traffic stop is valid at its

             inception, a resulting seizure of no more than seventeen minutes can ever be

             unconstitutional on account of its duration and lacking knowledge as to any appellate

             decision that has held that such a short detention linked to a legitimate traffic stop to be

             an unreasonable seizure under the Fourth Amendment on the account of the stop’s

             duration); United States v. Purcell, 236 F.3d 1274, 1277-80 (11th Cir. 2001) (concluding

             that 14-minute period between the initial traffic stop and the driver’s consent to the

             search of his car was not unreasonable and that the Eleventh Circuit had approved

             significantly longer searches). Furthermore, as discussed above, much of the fifteen-

             minute period was utilized to perform legitimate traffic citation purposes, such as

             explaining the reason for the stop, performing a computer check, and writing the traffic

             warning. Accordingly, Defendant’s Motion to Suppress should be DENIED. (Doc.

             292).

                                                  CONCLUSION

                     Based on the foregoing, Defendant’s Motion to Suppress should be DENIED.

             (Doc. 292). As there are no further motions pending with regard to Defendant Gino

             Shuler, the undersigned certifies this Defendant ready for trial.




                                                         30


AO 72A
(Rev.8/82)
              Case 1:15-cr-00082-TCB-LTW Document 615 Filed 11/07/17 Page 31 of 31




                  SO ORDERED, REPORTED AND RECOMMENDED this                    7     day of

             November, 2017.

                                         /s/Linda T. Walker
                                         LINDA T. WALKER
                                         UNITED STATES MAGISTRATE JUDGE




AO 72A
(Rev.8/82)
